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S .S. DISTRICT COURT

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

CASE NO. 12mc0230

In the Matter of Attorneys Suspended or
Disbarred by the State Bar of California, ORDER

 

On February 22,2012, the Court ordered the following attorneys to show cause why they
should not be suspended or disbarred by this Court as a result of being disbarred, suspended, or
placed on the inactive list by the State Bar of California:

Disbarment:

Thomas Andrew Hawbaker (Cal. Bar #140654)
Philip Noel Officer (Cal. Bar #047031)

Ryan Christopher Aulis (Cal. Bar #257276)
Gustav George Bujkovsky (Cal. Bar #047528)

Suspension:
Michael James Barsi (Cal. Bar #159970)

Earl Thomas Durham (Cal. Bar #0743349)
Earl Wayne Husted III (Cal. Bar #099019)
Victor Diaz Mireles (Cal. Bar #249298)
James Thomas Bentson (Cal. Bar #140800)
Kim Trong Nguyen (Cal. Bar #162783)
Barry Jay Post (Cal. Bar #072286)

Gary Craig Wykidal (Cal. Bar #09243 7)
Thomas James Bayard (Cal. Bar #226247)
David Robert Endres (Cal. Bar #123564)
Ivan Pedro C, Porto (Cal. Bar #129629)

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Involuntary Inactive Enrollment:

Rodney Lynn Dyche (Cal. Bar #246847)

Ric A. Militello (Cal. Bar #1 93675)
Mohammad Reza Nadim (Cal. Bar #1 29366)
Richard David Corona (Cal. Bar #056795)
Michael Howard Crosby (Cal. Bar #125778)
Henry Richard Gaxiola (Cal. Bar #138498)
Ramon Mendez Gonzalez (Cal. Bar #220891)
Douglas Jack Haycock (Cal. Bar #095071)
Anthony Joseph Kassas (Cal. Bar #227647)
Stephen Paul Naratil (Cal. Bar #174825)
Colin C. Swainston (Cal. Bar #1 50761)
Herbert Davis (Cal. Bar #030870)

James Vincent Reiss (Cal. Bar #128020)
Andrew Ellis Rubin (Cal. Bar #062587)
Christine Madlaine Seyler (Cal. Bar #1 ?#LI55)
David Vernon Skinner (Cal. Bar #123426)
Mitchell J. Stein (Cal. Bar #121750)

Phich Kong Taing (Cal. Bar #2443 72)

None of the listed attorneys have responded. Therefore, the Court orders that the attorneys listed
above as being disbarred by the State Bar of California are disbarred from membership in the bar
of this Court. The Court also orders that the attorneys listed above as being suspended or placed
on the inactive list by the State Bar of California are suspended from membership in the bar of this
court.

Any attorney seeking reinstatement may file a petition with the Clerk of the Court with
supporting documentation showing that he or she meets the requirements of Civil Local Rule
83.3.c.1.a. This petition will be determined by the chief judge.

The Clerk of the Court is directed to serve a copy of this order upon each of the listed

attorneys at the address indicated in this Court’s attorney maintenance records.

IT ISSO ORDERED.

DATED: AA pull 3, Z0\2—

 

BARRY TED MOSKOWITZ, Chief Jud

United States District Court

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